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 6    ATTORNEY FOR Defendant,
      CARLOS ARMANDO LUNA
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 8
                                     UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
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                                                  ******
11    UNITED STATES OF AMERICA,                           Case No.: 1:12-CR-00310-004-DAD-BAM
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                       Plaintiff,
                                                          STIPULATION AND [PROPOSED]
13                                                        ORDER TO MODIFY CONDITIONS OF
             v.
                                                          RELEASE
14
      CARLOS ARMANDO LUNA,
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                       Defendant.
16

17    TO:    THE HONORABLE MAGISTRATE JUDGE BARBARA A. MCAULIFFE, AND
             TO ASSISTANT UNITED STATES ATTORNEY LAUREL J. MONTOYA:
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19           On September 26, 2012, Defendant, Carlos Armando Luna made his initial appearance

20    before this Court on an indictment filed in the Eastern District of California charging him with

21    conspiracy to manufacture and possess with intent to distribute 1,000 or more marijuana plants.

22    Mr. Luna was released into the custody of a third party, Ms. Sulema Luna, under conditions set

23    by this Court.

24           The parties agree and stipulate that Mr. Luna’s conditions of release should be modified

25    as follows:

26           1.        Defendant shall refrain from any use of alcohol or any use of a narcotic drug or

27    other controlled substance without a prescription by a licensed medical practitioner; and shall

28    notify Pretrial Services immediately of any prescribed medication(s). However, medicinal
     Case 1:12-cr-00310-DAD-BAM Document 159 Filed 12/23/15 Page 2 of 3
 1    marijuana, prescribed or not, may not be used;

 2           2.      Defendant shall participate in a program of medical or psychiatric treatment,

 3    including treatment for drug or alcohol dependency, as approved by the pretrial services

 4    officer. The Defendant shall pay all or part of the costs of the counseling services based upon

 5    the ability to pay, as determined by the pretrial services officer;

 6           3.      All prior ordered conditions of release remain in full force and effect.

 7           4.      United States Pretrial Services Officer Dan Stark has advised defense counsel

 8    that he does not object to a modification of Mr. Luna’s conditions of release.

 9           IT IS SO STIPULATED.

10                                                            Respectfully submitted,

11    DATED:       December 22, 2015                    By: /s/Laurel J. Montoya
                                                            LAUREL J. MONTOYA
12                                                          Assistant United States Attorney
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15    DATED:       December 22, 2015                    By: /s/Anthony P. Capozzi
                                                            ANTHONY P. CAPOZZI
16                                                          Attorney for Defendant CARLOS
                                                            ARMANDO LUNA
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     Case 1:12-cr-00310-DAD-BAM Document 159 Filed 12/23/15 Page 3 of 3
 1                                   ORDER

 2           For reasons set forth above, the Defendant’s conditions of pretrial release shall be

 3    modified as follows:

 4           1.     Defendant shall refrain from any use of alcohol or any use of a narcotic

 5    drug or other controlled substance without a prescription by a licensed medical

 6    practitioner; and shall notify Pretrial Services immediately of any prescribed

 7    medication(s). However, medicinal marijuana, prescribed or not, may not be used.

 8           2.     Defendant shall participate in a program of medical or psychiatric

 9    treatment, including treatment for drug or alcohol dependency, as approved by the

10    pretrial services officer. The Defendant shall pay all or part of the costs of the counseling

11    services based upon the ability to pay, as determined by the pretrial services officer.

12           All prior ordered conditions of release remain in full force and effect.

13           IT IS SO ORDERED.

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16    IT IS SO ORDERED.

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         Dated:    December 23, 2015                           /s/ Barbara A. McAuliffe         _
18                                                      UNITED STATES MAGISTRATE JUDGE

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